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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF CALIFORNIA

                                      MEMORANDUM




Honorable Lawrence K. Karlton
Senior United States District Judge
Sacramento, California

                                                 RE:    Shamshad ZIYARMAL
                                                        Docket Number: 2:04CR00393-03
                                                        PERMISSION TO TRAVEL
                                                        OUTSIDE THE COUNTRY

Your Honor:

Mr. Ziyarmal is requesting permission to travel to Afghanistan. He is current with all supervision
obligations, and the probation officer recommends foreign travel approval be granted.

Conviction and Sentencing Date: On November 8, 2005, Mr. Ziyarmal was sentenced for the
offense of Money Laundering (18 USC 1957).

Sentence imposed: 16 months custody of the Bureau of Prisons; 36 months Supervised Release;
$100 Special Assessment. Special Conditions: Warrantless search and seizure; Drug and
alcohol testing, treatment and co-payment; Submit to DNA testing.

Dates and Mode of Travel: Mr. Ziyarmal would like to travel sometime in the month of
September 2006, and he plans to be out of the country two to three weeks. He will travel by
airplane. The probation officer will obtain and monitor specific travel information if Court approval
is granted.

Purpose: To visit family and to pick up his wife and bring her back to the United States.


                                      Respectfully Submitted,



                                     /s/ Richard W. Elkins
                                    RICHARD W. ELKINS
                            Senior United States Probation Officer




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  RE:    Shamshad ZIYARMAL
         Docket Number: 2:04CR00393-03
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY




Dated:      September 1, 2006
            Elk Grove, California
            RWE/cj




REVIEWED BY:         /s/ Deborah A. Spencer
                  DEBORAH A. SPENCER
                  Supervising United States Probation Officer




ORDER OF THE COURT:

Approved             U                    Disapproved


 September 5, 2006
Date                                      Honorable Lawrence K. Karlton
                                          Senior United States District Judge




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